 Case 19-00149-SMT             Doc 10 Filed 03/15/19 Entered 03/16/19 00:11:42                         Desc Imaged
                                    Certificate of Notice Page 1 of 3
14DAYDEF (12/15)




                                            United States Bankruptcy Court for
                                                the District of Columbia
                                         E. Barrett Prettyman U. S. Courthouse
                                           333 Constitution Ave, NW #1225
                                                 Washington, DC 20001
                                                     (202) 354−3280
                                                 www.dcb.uscourts.gov


In Re                                                                                     Case No. 19−00149−SMT
Thomas K. Stephenson
Debtor                                                                                    Chapter 11
ISSUE TO:
Thomas K. Stephenson
711 49th Street, NE
Apt #1A
Washington, DC 20019−4815
                  NOTICE TO PARTY FILING DEFICIENT PLEADING OR DOCUMENT

  (NOTE TO FILER: This notice is to be attached to any documents when submitting previously deficient items)

   ===============================================================================

WARNING − The deficient pleading or document described below will be stricken unless you correct the
following deficiencies. You have until 3/27/2019 to file the corrections.

The Clerk has accepted the following pleading or document (Docket Entry No. ).:

    There will be no granting of the deficient pleading or document until the defect(s) is/are corrected. With reference
to the deficient pleading or document, the Court has deferred action pending correction of the following:

             Signature/Admission to Practice. Documents must be signed by a member in good standing of the Bar
             of the United States District Court for the District of Columbia. See LBR 2090−1.
             A proposed order should be filed with all motions, applications, objections, oppositions, or any other
             document requesting relief under LBR 9072−1(a)(1). The proposed order must list the names and
             addresses of each party to be served with a copy of the order.
             A Certificate of service is required under LBR 9013−1(c).
             Applications to Employ must be served on the U.S. Trustee under FRBP 9034.
             Fee Applications seeking more than 1,000 dollars must be accompanied by a notice of hearing and
             opportunity to object that is served on the debtor, the U.S. Trustee (except in Chapter 13), the creditors
             and all parties−in−interest, including any trustee. See FRBP 2002, LBR 2002−1 and Local Official Form
             No. 4.
             Chapters 7 and 11 Fee Applications must be served on the U.S. Trustee and any trustee appointed in the
             case.
             This matter requires 21−Day Notice under FRBP 2002 to the debtor, trustee, U.S. Trustee and all
             creditors. This notice should conform to LBR 2002−1 and Local Official Form No. 4.
             This matter requires 21−Day Notice under FRBP 2002 and 6004 to the debtor, trustee, U.S. Trustee and
             all creditors. This notice should conform to LBR 6004−1 and Local Official Form No. 5.
             This matter requires 14−Day Notice under FRBP 4001. This notice should conform with Local Official
             Form No. 3.
             A motion commencing a contested matter must be accompanied by notice of opportunity to object within
             17 days of filing of the motion. See FRBP 9013, LBR 9013−1(b)(3), and Local Official Form No. 3.
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             Objections to Claim require 30−day notice. See Local Official Form No. 6.
             Objections to Exemptions require 21−day notice. See LBR 4003−1(a)(1) and Local Official Form No. 7.
             Method of Payment . The Office of the Clerk only accepts cashier's checks, money orders, or corporate
             checks through the mail.
             Certification of Amended Schedules. Pursuant to LBR 1007−2, a supplemental mailing matrix or a
             written statement that schedules do not add or change any addresses of creditors or equity security
             holders is required.
             Adding Creditors. If the Schedules or Amended Schedules add creditors, a $31.00 fee is required along
             with an Amended Mailing Matrix listing only the names and addresses of the creditors being added. The
             Amended Mailing Matrix must be accompanied by the proper cover sheet.
             Signed Declaration: A signed declaration is required whereby the debtor states that "I declare under
             penalty of perjury that I have read the foregoing and the information contained therein is true and correct
             to the best of my knowledge, information, and belief."
             Chapter 11 List of Equity Security Holders.. The debtor shall file a list of the debtor's equity security
             holders of each class showing the number and kind of interest registered in the name of each holder. See
             Rule 1007(a)(3).
             The List of Creditors Who Have 20 Largest Unsecured Claims(Form 104 for individual debtors; Form
             204 for non−individual debtors). The debtor shall file a list containing the name, address and claim of
             the creditors that hold the 20 largest unsecured claims. See Rule 1007(d).
             Other/Additional Comments:
Dated: 3/13/19                                              For the Court:
                                                            Angela D. Caesar
                                                            BY: FB
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                                               United States Bankruptcy Court
                                                   District of Columbia
In re:                                                                                                     Case No. 19-00149-SMT
Thomas K. Stephenson                                                                                       Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0090-1                  User: admin                        Page 1 of 1                          Date Rcvd: Mar 13, 2019
                                      Form ID: 14daydef                  Total Noticed: 1

Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 15, 2019.
dbpos           Thomas K. Stephenson,   711 49th Street, NE,   Apt #1A,   Washington, DC 20019-4815

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 15, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 13, 2019 at the address(es) listed below:
              Charles M. Maynard   on behalf of Debtor In Possession Thomas K. Stephenson
               CMaynard@MaynardLawGroup.com
              Joseph A. Guzinski   on behalf of U.S. Trustee   U. S. Trustee for Region Four
               Joseph.A.Guzinski@usdoj.gov, USTPRegion04.DC.ECF@USDOJ.GOV;Bradley.D.Jones@usdoj.gov
              U. S. Trustee for Region Four   USTPRegion04.DC.ECF@USDOJ.GOV
                                                                                             TOTAL: 3
